                        Case 4:21-cv-02155-YGR        Document 278-2   Filed 08/05/22   Page 1 of 2



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                   14                               UNITED STATES DISTRICT COURT

                   15                             NORTHERN DISTRICT OF CALIFORNIA

                   16                                       OAKLAND DIVISION

                   17

                   18   In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR (VKD)
                        Litigation,
                   19                                                  [PROPOSED] ORDER GRANTING GOOGLE
                                                                       LLC’S UNOPPOSED ADMINISTRATIVE
                   20                                                  MOTION TO EXTEND TIME TO MOVE TO
                        This Document Relates to: all actions,         SEAL THE DECLARATION OF LESLIE E.
                   21                                                  WEAVER AND ACCOMPANYING EXHIBITS
                                                                       1-13 (ECF NO. 272)
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COOLEY LLP
ATTORNEYS AT LAW                                                             [PROPOSED] ORDER GRANTING UNOPPOSED
 SAN FRANCISCO                                                                      ADMIN. MOTION TO EXTEND TIME
                                                                                 CASE NO. 4:21-CV-02155-YGR (VKD)
                        Case 4:21-cv-02155-YGR            Document 278-2      Filed 08/05/22      Page 2 of 2



                    1               Before the Court is Google LLC’s (“Google”) Unopposed Administrative Motion to Extend
                    2   Time to Move to Seal the Declaration of Leslie E. Weaver and Accompanying Exhibits 1-13.
                    3   Having considered Google’s unopposed Administrative Motion and all other matters properly
                    4   considered by this Court, the Court finds there is good cause to GRANT the Motion.
                    5               THEREFORE, IT IS ORDERED that, for the reasons stated in the Motion, the Motion is
                    6   GRANTED. Absent an intervening order obviating the need to seal the confidential information
                    7   cited by Plaintiffs, Google shall file its Motion to Seal on Friday, August 12, 2022.
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                   10   Dated: _________________                              Hon. Virginia K. DeMarchi
                                                                              UNITED STATES MAGISTRATE JUDGE
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COOLEY LLP
ATTORNEYS AT LAW                                                                     [PROPOSED] ORDER GRANTING UNOPPOSED
 SAN FRANCISCO                                                            2                 ADMIN. MOTION TO EXTEND TIME
                                                                                         CASE NO. 4:21-CV-02155-YGR (VKD)
